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                         Exhibit 3
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<TYPE>N-PX
<SEQUENCE>1
<FILENAME>tm2322108d11_npx.txt
<DESCRIPTION>N-PX
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                                    UNITED STATES
                          SECURITIES AND EXCHANGE COMMISSION
                                WASHINGTON, D.C. 20549

                                      FORM N-PX

                         ANNUAL REPORT OF PROXY VOTING RECORD
                                          OF
                      REGISTERED MANAGEMENT INVESTMENT COMPANIES

INVESTMENT COMPANY ACT FILE NUMBER:        811-2652

NAME OF REGISTRANT:                        VANGUARD INDEX FUNDS

ADDRESS OF REGISTRANT:                     PO BOX 2600, VALLEY FORGE, PA 19482

NAME AND ADDRESS OF AGENT FOR SERVICE:     ANNE E. ROBINSON
                                           PO BOX 876
                                           VALLEY FORGE, PA 19482

REGISTRANT'S TELEPHONE NUMBER, INCLUDING AREA CODE:      (610) 669-1000

DATE OF FISCAL YEAR END:                   DECEMBER 31

DATE OF REPORTING PERIOD:                  JULY 1, 2022 - JUNE 30, 2023

<PAGE>

******************************* FORM N-Px REPORT *******************************
ICA File Number: 81102652E
Reporting Period: 07/01/2022 - 06/30/2023
VANGUARD INDEX FUNDS

Each investment advisor's votes cast are shown separately below. Sections
without an investment advisor listed reflect votes cast by the Fund. The votes
reported do not reflect any votes cast pursuant to a regulatory requirement.



==================== VANGUARD TOTAL STOCK MARKET INDEX FUND ====================


1-800-FLOWERS.COM, INC.
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#       Proposal                                 Mgt Rec    Vote Cast      Sponsor
1a      Elect Director Michael W. Bonney         For        For            Management
1b      Elect Director Yvonne L. Greenstreet     For        For            Management
1c      Elect Director Phillip A. Sharp          For        For            Management
1d      Elect Director Elliott Sigal             For        For            Management
2       Advisory Vote to Ratify Named            For        For            Management
        Executive Officers' Compensation
3       Advisory Vote on Say on Pay Frequency    One Year   One Year       Management
4       Ratify PricewaterhouseCoopers LLP as     For        For            Management
        Auditors


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ALPHA AND OMEGA SEMICONDUCTOR LIMITED

Ticker:       AOSL             Security ID: G6331P104
Meeting Date: NOV 29, 2022     Meeting Type: Annual
Record Date: OCT 10, 2022

#       Proposal                                 Mgt Rec    Vote Cast      Sponsor
1.1     Elect Director Mike F. Chang             For        For            Management
1.2     Elect Director Lucas S. Chang            For        For            Management
1.3     Elect Director Stephen C. Chang          For        For            Management
1.4     Elect Director Claudia Chen              For        For            Management
1.5     Elect Director So-Yeon Jeong             For        For            Management
1.6     Elect Director Hanqing (Helen) Li        For        For            Management
1.7     Elect Director King Owyang               For        For            Management
1.8     Elect Director Michael L. Pfeiffer       For        For            Management
1.9     Elect Director Michael J. Salameh        For        For            Management
2       Advisory Vote to Ratify Named            For        For            Management
        Executive Officers' Compensation
3       Amend Omnibus Stock Plan                 For        For            Management
4       Ratify Baker Tilly US, LLP as Auditors   For        For            Management


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ALPHA METALLURGICAL RESOURCES, INC.

Ticker:       AMR              Security ID: 020764106
Meeting Date: MAY 03, 2023     Meeting Type: Annual
Record Date: MAR 10, 2023

#       Proposal                                 Mgt Rec    Vote Cast      Sponsor
1a      Elect Director Joanna Baker de           For        For            Management
        Neufville
1b      Elect Director Kenneth S. Courtis        For        For            Management
1c      Elect Director C. Andrew Eidson          For        For            Management
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1d      Elect Director Albert E. Ferrara, Jr.   For       For            Management
1e      Elect Director Elizabeth A. Fessenden   For       For            Management
1f      Elect Director Michael Gorzynski        For       For            Management
1g      Elect Director Michael J. Quillen       For       For            Management
1h      Elect Director Daniel D. Smith          For       For            Management
1i      Elect Director David J. Stetson         For       For            Management
2       Eliminate Supermajority Vote            For       For            Management
        Requirement
3       Ratify RSM US LLP as Auditors           For       For            Management
4       Advisory Vote to Ratify Named           For       For            Management
        Executive Officers' Compensation


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ALPHA PRO TECH, LTD.

Ticker:       APT              Security ID: 020772109
Meeting Date: JUN 12, 2023     Meeting Type: Annual
Record Date: APR 13, 2023

#       Proposal                                Mgt Rec   Vote Cast      Sponsor
1.1     Elect Director James Buchan             For       For            Management
1.2     Elect Director David R. Garcia          For       For            Management
1.3     Elect Director Lloyd Hoffman            For       For            Management
1.4     Elect Director Donna Millar             For       For            Management
1.5     Elect Director Danny Montgomery         For       For            Management
1.6     Elect Director John Ritota              For       For            Management
1.7     Elect Director Benjamin A. Shaw         For       For            Management
2       Ratify Tanner LLC as Auditors           For       For            Management
3       Advisory Vote to Ratify Named           For       For            Management
        Executive Officers' Compensation


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ALPHA TEKNOVA, INC.

Ticker:       TKNO             Security ID: 02080L102
Meeting Date: JUN 13, 2023     Meeting Type: Annual
Record Date: APR 21, 2023

#       Proposal                                Mgt Rec   Vote Cast      Sponsor
1.1     Elect Director Irene Davis              For       Withhold       Management
1.2     Elect Director J. Matthew Mackowski     For       Withhold       Management
1.3     Elect Director Brett Robertson          For       For            Management
2       Ratify Ernst & Young LLP as Auditors    For       For            Management


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        Designated Company Director of Non-U.S.
        Subsidiaries
6e      Elect Director James Haney as           For         For            Management
        Designated Company Director of Non-U.S.
        Subsidiaries
6f      Elect Director Chris Hovey as           For         For            Management
        Designated Company Director of Non-U.S.
        Subsidiaries
6g      Elect Director Pierre Jal as            For         For            Management
        Designated Company Director of Non-U.S.
        Subsidiaries
6h      Elect Director Francois Morin as        For         For            Management
        Designated Company Director of Non-U.S.
        Subsidiaries
6i      Elect Director David J. Mulholland as   For         For            Management
        Designated Company Director of Non-U.S.
        Subsidiaries
6j      Elect Director Chiara Nannini as        For         For            Management
        Designated Company Director of Non-U.S.
        Subsidiaries
6k      Elect Director Maamoun Rajeh as         For         For            Management
        Designated Company Director of Non-U.S.
        Subsidiaries
6l      Elect Director Christine Todd as        For         For            Management
        Designated Company Director of Non-U.S.
        Subsidiaries


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ARCH COAL INC.

Ticker:       ARCH             Security ID: 03940R107
Meeting Date: MAY 12, 2023     Meeting Type: Annual
Record Date: MAR 17, 2023

#       Proposal                                 Mgt Rec    Vote Cast      Sponsor
1.1     Elect Director James N. Chapman          For        For            Management
1.2     Elect Director John W. Eaves             For        For            Management
1.3     Elect Director Holly Keller Koeppel      For        For            Management
1.4     Elect Director Patrick A. Kriegshauser   For        For            Management
1.5     Elect Director Paul A. Lang              For        For            Management
1.6     Elect Director Richard A. Navarre        For        For            Management
1.7     Elect Director Molly P. Zhang (aka       For        For            Management
        Peifang Zhang)
2       Advisory Vote to Ratify Named            For        For            Management
        Executive Officers' Compensation
3       Advisory Vote on Say on Pay Frequency    One Year   One Year       Management
4       Ratify Ernst & Young LLP as Auditors     For        For            Management
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3      Advisory Vote to Ratify Named            For        For            Management
       Executive Officers' Compensation
4      Advisory Vote on Say on Pay Frequency    None       One Year       Management
5      Provide Right to Call Special Meeting    For        For            Management
6      Approve Omnibus Stock Plan               For        For            Management
7      Require Independent Board Chair          Against    Against        Shareholder
8      Adopt Share Retention Policy For         Against    Against        Shareholder
       Senior Executives
9      Report on Tax Transparency               Against    Against        Shareholder
10     Report on Lobbying Payments and Policy   Against    Against        Shareholder


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CONSENSUS CLOUD SOLUTIONS, INC.

Ticker:       CCSI            Security ID: 20848V105
Meeting Date: JUN 15, 2023    Meeting Type: Annual
Record Date: APR 18, 2023

#      Proposal                                 Mgt Rec    Vote Cast      Sponsor
1a     Elect Director Elaine Healy              For        For            Management
1b     Elect Director Stephen Ross              For        For            Management
2      Ratify BDO USA, LLP as Auditors-         None       None           Management
       Withdrawn
3      Advisory Vote on Say on Pay Frequency    One Year   One Year       Management


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CONSOL ENERGY INC.

Ticker:       CEIX            Security ID: 20854L108
Meeting Date: APR 27, 2023    Meeting Type: Annual
Record Date: MAR 03, 2023

#      Proposal                                 Mgt Rec    Vote Cast      Sponsor
1a     Elect Director William P. Powell         For        For            Management
1b     Elect Director Valli Perera              For        For            Management
1c     Elect Director James A. Brock            For        For            Management
1d     Elect Director John T. Mills             For        For            Management
1e     Elect Director Joseph P. Platt           For        For            Management
1f     Elect Director Cassandra Chia-Wei Pan    For        For            Management
2      Ratify Ernst & Young LLP as Auditors     For        For            Management
3      Advisory Vote to Ratify Named            For        For            Management
       Executive Officers' Compensation


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NABORS INDUSTRIES LTD.

Ticker:       NBR              Security ID: G6359F137
Meeting Date: JUN 06, 2023     Meeting Type: Annual
Record Date: APR 10, 2023

#       Proposal                                Mgt Rec    Vote Cast      Sponsor
1.1     Elect Director Tanya S. Beder           For        For            Management
1.2     Elect Director Anthony R. Chase         For        For            Management
1.3     Elect Director James R. Crane           For        For            Management
1.4     Elect Director John P. Kotts            For        For            Management
1.5     Elect Director Michael C. Linn          For        For            Management
1.6     Elect Director Anthony G. Petrello      For        For            Management
1.7     Elect Director John Yearwood            For        For            Management
2       Approve PricewaterhouseCoopers LLP      For        For            Management
        Auditors and Authorize Board to Fix
        Their Remuneration
3       Advisory Vote to Ratify Named           For        Against        Management
        Executive Officers' Compensation
4       Advisory Vote on Say on Pay Frequency   One Year   One Year       Management


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NACCO INDUSTRIES, INC.

Ticker:       NC               Security ID: 629579103
Meeting Date: MAY 16, 2023     Meeting Type: Annual
Record Date: MAR 21, 2023

#       Proposal                                Mgt Rec    Vote Cast      Sponsor
1.1     Elect Director J.C. Butler, Jr.         For        For            Management
1.2     Elect Director John S. Dalrymple, III   For        For            Management
1.3     Elect Director John P. Jumper           For        For            Management
1.4     Elect Director Dennis W. LaBarre        For        For            Management
1.5     Elect Director Michael S. Miller        For        For            Management
1.6     Elect Director Alfred M. Rankin, Jr.    For        For            Management
1.7     Elect Director Matthew M. Rankin        For        For            Management
1.8     Elect Director Roger F. Rankin          For        For            Management
1.9     Elect Director Lori J. Robinson         For        For            Management
1.10    Elect Director Valerie Gentile Sachs    For        For            Management
1.11    Elect Director Robert S. Shapard        For        For            Management
1.12    Elect Director Britton T. Taplin        For        For            Management
2       Amend Restricted Stock Plan             For        For            Management
3       Advisory Vote to Ratify Named           For        Against        Management
        Executive Officers' Compensation
4       Ratify Ernst & Young LLP as Auditors    For        For            Management


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PDC ENERGY, INC.

Ticker:       PDCE             Security ID: 69327R101
Meeting Date: MAY 24, 2023     Meeting Type: Annual
Record Date: MAR 29, 2023

#       Proposal                                Mgt Rec    Vote Cast      Sponsor
1.1     Elect Director Barton R. Brookman       For        For            Management
1.2     Elect Director Pamela R. Butcher        For        For            Management
1.3     Elect Director Mark E. Ellis            For        For            Management
1.4     Elect Director Paul J. Korus            For        For            Management
1.5     Elect Director Lynn A. Peterson         For        For            Management
1.6     Elect Director Carlos A. Sabater        For        For            Management
1.7     Elect Director Diana L. Sands           For        For            Management
2       Advisory Vote to Ratify Named           For        For            Management
        Executive Officers' Compensation
3       Ratify PricewaterhouseCoopers LLP as    For        For            Management
        Auditors
4       Advisory Vote on Say on Pay Frequency   One Year   One Year       Management


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PDF SOLUTIONS, INC.

Ticker:       PDFS             Security ID: 693282105
Meeting Date: JUN 13, 2023     Meeting Type: Annual
Record Date: APR 14, 2023

#       Proposal                                Mgt Rec    Vote Cast      Sponsor
1.1     Elect Director Joseph R. Bronson        For        For            Management
1.2     Elect Director Ye Jane Li               For        For            Management
2       Ratify BPM LLP as Auditors              For        For            Management
3       Amend Omnibus Stock Plan                For        For            Management
4       Advisory Vote to Ratify Named           For        For            Management
        Executive Officers' Compensation
5       Advisory Vote on Say on Pay Frequency   One Year   One Year       Management


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PEABODY ENERGY CORPORATION

Ticker:       BTU              Security ID: 704551100
Meeting Date: MAY 04, 2023     Meeting Type: Annual
Record Date: MAR 09, 2023
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#      Proposal                                 Mgt Rec    Vote Cast      Sponsor
1a     Elect Director Bob Malone                For        For            Management
1b     Elect Director Samantha B. Algaze        For        For            Management
1c     Elect Director Andrea E. Bertone         For        For            Management
1d     Elect Director William H. Champion       For        For            Management
1e     Elect Director Nicholas J. Chirekos      For        For            Management
1f     Elect Director Stephen E. Gorman         For        For            Management
1g     Elect Director James C. Grech            For        For            Management
1h     Elect Director Joe W. Laymon             For        For            Management
1i     Elect Director David J. Miller           For        For            Management
2      Advisory Vote to Ratify Named            For        For            Management
       Executive Officers' Compensation
3      Ratify Ernst & Young LLP as Auditors     For        For            Management


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PEAPACK-GLADSTONE FINANCIAL CORPORATION

Ticker:       PGC             Security ID: 704699107
Meeting Date: MAY 02, 2023    Meeting Type: Annual
Record Date: MAR 08, 2023

#      Proposal                                 Mgt Rec    Vote Cast      Sponsor
1.1    Elect Director Carmen M. Bowser          For        For            Management
1.2    Elect Director Susan A. Cole             For        For            Management
1.3    Elect Director Anthony J. Consi, II      For        For            Management
1.4    Elect Director Richard Daingerfield      For        For            Management
1.5    Elect Director Edward A. Gramigna, Jr.   For        For            Management
1.6    Elect Director Peter D. Horst            For        For            Management
1.7    Elect Director Steven A. Kass            For        For            Management
1.8    Elect Director Douglas L. Kennedy        For        For            Management
1.9    Elect Director F. Duffield Meyercord     For        For            Management
1.10   Elect Director Patrick J. Mullen         For        For            Management
1.11   Elect Director Philip W. Smith, III      For        For            Management
1.12   Elect Director Tony Spinelli             For        For            Management
1.13   Elect Director Beth Welsh                For        For            Management
2      Advisory Vote to Ratify Named            For        For            Management
       Executive Officers' Compensation
3      Advisory Vote on Say on Pay Frequency    One Year   One Year       Management
4      Amend Omnibus Stock Plan                 For        For            Management
5      Ratify Crowe LLP as Auditors             For        For            Management


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PEBBLEBROOK HOTEL TRUST

Ticker:       PEB             Security ID: 70509V100
Meeting Date: MAY 23, 2023    Meeting Type: Annual
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1k      Elect Director Donald A. Wagner          For       Against        Management
2       Ratify KPMG LLP as Auditors              For       For            Management


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WARRIOR MET COAL, INC.

Ticker:       HCC              Security ID: 93627C101
Meeting Date: APR 25, 2023     Meeting Type: Annual
Record Date: MAR 03, 2023

#       Proposal                                 Mgt Rec   Vote Cast      Sponsor
1.1     Elect Director Ana B. Amicarella         For       For            Management
1.2     Elect Director J. Brett Harvey           For       For            Management
1.3     Elect Director Walter J. Scheller, III   For       For            Management
1.4     Elect Director Lisa M. Schnorr           For       For            Management
1.5     Elect Director Alan H. Schumacher        For       For            Management
1.6     Elect Director Stephen D. Williams       For       For            Management
2       Advisory Vote to Ratify Named            For       For            Management
        Executive Officers' Compensation
3       Ratify Ernst & Young LLP as Auditors     For       For            Management


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WASHINGTON FEDERAL, INC.

Ticker:       WAFD             Security ID: 938824109
Meeting Date: FEB 14, 2023     Meeting Type: Annual
Record Date: DEC 12, 2022

#       Proposal                                 Mgt Rec   Vote Cast      Sponsor
1.1     Elect Director Stephen M. Graham         For       For            Management
1.2     Elect Director David K. Grant            For       For            Management
1.3     Elect Director Randall H. Talbot         For       For            Management
2       Approve Nonqualified Employee Stock      For       For            Management
        Purchase Plan
3       Amend Deferred Compensation Plan         For       For            Management
4       Advisory Vote to Ratify Named            For       For            Management
        Executive Officers' Compensation
5       Ratify Deloitte & Touche LLP as          For       For            Management
        Auditors


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WASHINGTON FEDERAL, INC.

Ticker:         WAFD           Security ID:   938824109
